              Case 4:21-cv-00023-JST Document 1 Filed 01/04/21 Page 1 of 7




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 9
10

11                          UNITED STATES DISTRICT COURT
12
                         NORTHERN DISTRICT OF CALIFORNIA
13

14   RUSTY AREIAS, an individual and              Case No. ________________________
15   MERCURY PUBLIC AFFAIRS, LLC, a
     Delaware corporation transacting business in DEFENDANTS’ NOTICE OF REMOVAL
16   California, assignees of California
     Strategies, LLC                              COMPLAINT FILED IN THE SUPERIOR
17                                                COURT OF CALIFORNIA, COUNTY OF SAN
                              Plaintiffs,
                                                  FRANCISCO: NOVEMBER 10, 2020
18
                      vs.
19                                                NOTICE OF REMOVAL FILED: JANUARY 4,
     APPLIED UNDERWRITERS, INC, a                 2021
20   Nebraska corporation, STEVEN MENZIES,
     an individual, ALAN QUASHA, an
21   individual, and DOES 1-20, inclusive,

22                       Defendants.

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                           DEFENDANT’S NOTICE OF REMOVAL
                 Case 4:21-cv-00023-JST Document 1 Filed 01/04/21 Page 2 of 7




 1          TO THE CLERK OF THE COURT, PLAINTIFFS, AND PLAINTIFFS’

 2   COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

 4   Defendants Applied Underwriters, Inc, Steven Menzies and Alan Quasha (collectively,

 5   “Defendants”), by and through counsel, hereby remove to this Court the action entitled RUSTY

 6   AREIAS ET AL VS. APPLIED UNDERWRITERS, INC ET AL, Case No. CGC-20-587947 (the

 7   “Action”), which was originally filed in Superior Court of California, County of San Francisco.

 8   As the “short and plain statement of the grounds for removal,” 28 U.S.C. § 1446(a), Defendants

 9   state as follows:

10    I.    INTRODUCTION

11          1.      This Action is a civil action between citizens of different states, where the amount

12   in controversy exceeds $75,000 exclusive of interest and costs. This Court thus has diversity

13   jurisdiction under 28 U.S.C. § 1332(a) and this Action is properly removed pursuant to 28 U.S.C.

14   § 1441.

15    II.   BACKGROUND

16          2.      On November 10, 2020, plaintiffs Rusty Areias and Mercury Public Affairs, LLC

17   (“Plaintiffs”) commenced this action by filing a complaint in the Superior Court of California,

18   County of San Francisco. That complaint was allegedly served on Defendant Applied

19   Underwriters, Inc. on November 30, 2020 via substituted service and on Defendant Steven

20   Menzies on December 21, 2020 via substituted service.1 Applied Underwriters, Inc. first

21   received the complaint on December 3, 2020. The complaint has not been served on Defendant

22   Alan Quasha.

23          3.      Defendants have not filed an answer or responsive pleading to the Complaint.

24    III. BASIS FOR REMOVAL

25          A.      The Amount in Controversy Exceeds $75,000.

26          4.      The amount-in-controversy requirement of § 1332 is satisfied because “the matter

27          1 The Summons and Complaint with its Exhibit, as well as “all process, pleadings, and
     orders served” on Defendants in this Action, 28 U.S.C. § 1446(a), are attached hereto as Exhibit
28   A.
                                              1
                                DEFENDANT’S NOTICE OF REMOVAL
                 Case 4:21-cv-00023-JST Document 1 Filed 01/04/21 Page 3 of 7




 1   in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.” 28 U.S.C.

 2   § 1332(a)(1).

 3          5.       If a plaintiff fails to plead a specific amount of damages and the amount in

 4   controversy is not “facially apparent” from the complaint, then “the court may consider facts in

 5   the removal petition” to determine the amount at issue. Kroske v. U.S. Bank Corp., 432 F.3d

 6   976, 980 (9th Cir. 2005). In calculating the potential amount in controversy, courts include

 7   actual damages, compensatory damages, statutory penalties, restitution, disgorgement, punitive

 8   damages, and attorney’s fees. Wolk v. Green, 516 F.Supp.2d 1121, 1127 (N.D. Cal. 2007) (“the

 9   jurisdictional minimum may be satisfied by claims of general and specific damages, attorney’s

10   fees, and by punitive damages”); Kroske, 432 F.3d at 980 (“The amount in controversy includes

11   the amount of damages in dispute, as well as attorney’s fees, if authorized by statute or

12   contract.”). Although Plaintiffs did not plead a specific amount of damages in the Complaint, the

13   amount in controversy is, at a minimum, $2,000,000 on the face of the Complaint. See, e.g.,

14   Compl. ¶ 43 (“In breach of the Consulting Agreement, defendants failed to pay Plaintiffs the $1

15   million fee for services rendered pursuant to the Consulting Agreement”); ¶ 70 (“Plaintiffs would

16   not have continued to work with the defendant had they known the defendant had no intention of

17   paying the $2 million fee as promised”); ¶ 77 (“Defendants unjustly retained $2 million owed to

18   the plaintiffs in fees for services rendered . . .”); ¶ 84 (“The fair and reasonable value of the

19   defendants’ services for which the defendants have not paid plaintiffs is at least $2 million”).

20          6.       Plaintiffs also assert broad claims for actual, consequential, compensatory,

21   punitive, and exemplary damages, the total value of which far exceeds § 1332’s jurisdictional

22   minimum.

23          B.       There is Complete Diversity Between Plaintiffs and Defendants.

24          7.       Plaintiff Mercury Public Affairs LLC is and has at all relevant times been a

25   Delaware limited liability company whose principal place of business is in California. See

26   Compl. ¶ 1.

27          8.       Plaintiff Rusty Areias is and has at all relevant times been a citizen of California.

28   See Compl. ¶ 2.

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                                 DEFENDANT’S NOTICE OF REMOVAL
                  Case 4:21-cv-00023-JST Document 1 Filed 01/04/21 Page 4 of 7




 1          9.       Defendant Applied Underwriters, Inc. (“Applied”) is and has at all relevant times

 2   been a Nebraska corporation whose principal place of business is in Nebraska. Applied’s

 3   headquarters—where Applied’s board of directors meets and the chief officers of the corporation

 4   work and direct the corporation’s activities—is located at 10805 Old Mill Road, Omaha,

 5   Nebraska, 68154. See, e.g., 3123 SMB LLC v. Horn, 880 F.3d 461, 465 (9th Cir. 2018) (“[A]

 6   corporation’s principal place of business ‘should normally be the place where the corporation

 7   maintains its headquarters—provided that the headquarters is the actual center of direction,

 8   control, and coordination[.]”) (quoting Hertz Corp. v. Friend, 559 U.S. 77, 93 (2010)).

 9          10.      Defendant Alan Quasha is and has at all relevant times been a citizen of New

10   York. See Compl. ¶ 5.

11          11.      Defendant Steven Menzies (“Menzies”) is and has at all relevant times been a

12   citizen of Nebraska. Menzies is domiciled at his home in Nebraska, and Nebraska is the State in

13   which he pays taxes, votes, has a driver’s license and a bank account, and works as CEO of

14   Applied, a Nebraska corporation. See Lew v. Moss, 797 F.2d 747, 750 (9th Cir. 1986)

15   (identifying factors to consider for domicile).

16          12.      None of the Defendants are citizens of California, in which this Action was filed

17   and is pending.

18          13.      Accordingly, the complete diversity requirement of § 1332 is satisfied in this

19   Action because the matter in controversy is “between citizens of different States.” 28 U.S.C. §

20   1332(a)(1).

21     IV. THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE SATISFIED

22          14.      Venue. This Court is the proper venue for removal because the

23   Action is pending in the County of San Francisco, California, and the United States District

24   Court for the Northern District of California, San Francisco/Oakland Division is the “district and

25   division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

26          15.      Timeliness. Defendants timely filed this notice of removal.

27   Defendant Applied was allegedly served with the Summons and Complaint on November 30,

28   2020 via substituted service, Defendant Menzies was allegedly served with the Summons and

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                                 DEFENDANT’S NOTICE OF REMOVAL
                  Case 4:21-cv-00023-JST Document 1 Filed 01/04/21 Page 5 of 7




 1   Complaint on December 21, 2020 via substituted service and Defendant Quasha has not yet been

 2   served with the Complaint. Defendant Applied first received the Summons and Complaint on

 3   December 3, 2020. Accordingly, Defendants filed this Notice of Removal within 30 days of

 4   receiving the initial pleadings. 28 U.S.C. §§ 1446(b); 1453(b).

 5          16.      Unanimity. Because there are no other defendants in this Action besides Applied

 6   Underwriters, Inc., Steven Mennzies, and Alan Quasha, no consent to removal from any other

 7   defendant is necessary.

 8          17.      Notice. As required by 28 U.S.C. § 1446(d), a copy of this notice of

 9   removal is being promptly served on counsel for Plaintiffs, and a copy is being filed with the

10   Clerk of the Superior Court of the State of California for the County of San Francisco.

11          18.      State Court Record. Pursuant to 28 U.S.C. § 1446(a), true and correct

12   copies of all process and pleadings served on Defendants in the state court action are attached to

13   this Notice as Exhibit A.

14     V.   RESERVATION OF RIGHTS

15          19.      By filing this notice of removal, Defendants do not waive, and

16   reserve, all defenses including objections as to venue and the legal sufficiency of the claims

17   alleged in the Action.

18          20.      Defendants reserve the right to submit additional evidence and

19   argument as needed to supplement this “short and plain statement of the grounds for removal.”

20   28 U.S.C. § 1446(a).

21     VI. CONCLUSION

22          21.      For the reasons set forth above, this Action is within the original

23   jurisdiction of this Court under 28 U.S.C. § 1332(a), and venue is proper under 28 U.S.C. §

24   1441(a). This Action thus is removable to this Court pursuant to 28 U.S.C. § 1441. Wherefore,

25   Defendants hereby remove this Action to this Court from the Superior Court of California for the

26   County of San Francisco.

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                                 DEFENDANT’S NOTICE OF REMOVAL
               Case 4:21-cv-00023-JST Document 1 Filed 01/04/21 Page 6 of 7




 1   Dated: January 4, 2021                  Respectfully submitted,

 2                                            /s/ Maxwell V. Pritt
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                                             Attorneys for Defendants
 8                                           APPLIED UNDERWRITERS, INC,
                                             STEVEN MENZIES and ALAN QUASHA
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                              DEFENDANT’S NOTICE OF REMOVAL
               Case 4:21-cv-00023-JST Document 1 Filed 01/04/21 Page 7 of 7




 1                                   CERTIFICATE OF SERVICE

 2           I hereby certify that on January 4, 2021, I electronically filed DEFENDANTS NOTICE

 3   OF REMOVAL with the Clerk of Court using the CM/ECF system which sent an email

 4   notification to all participants in this case who are registered CM/ECF users. I further caused the

 5   documents listed above to be served via email and FedEx on the following:

 6          David J. Millstein
 7          Owais Bari
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10

11   Dated: January 4, 2021                            BOIES SCHILLER FLEXNER LLP
                                                        /s/ Ashleigh Jensen
12                                                      Ashleigh Jensen
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                                      CERTIFICATE OF SERVICE
